     Case: 1:06-cv-04481 Document #: 684 Filed: 05/21/18 Page 1 of 4 PageID #:25978




                     IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

KENT EUBANK, JERRY DAVIS, RICKY                          )
FALASCHETTI, RITA CICINELLI,                             )
ROBERT JOSEPHBERG, JEFFREY                               )
ACTON, KENNETH HECHTMAN, JAMES                           )
NEIMAN, AMY CHASIN and EDWARD                            )
RUHNKE,                                                  ) No.: 06 C 4481
individually and on behalf of all others                 )
similarly situated;                                      ) Honorable Sharon Coleman Johnson
                                                         )
                           Plaintiffs,                   ) Class Action
                                                         )
v.                                                       )
                                                         )
PELLA CORPORATION, an Iowa                               )
corporation, and PELLA WINDOWS AND                       )
DOORS, INC., a Delaware corporation,                     )
Defendants                                               )
                                                         )
                           Defendants.                   )

    COMPLEX LITIGATION GROUP LLC’S MOTION FOR AWARD OF ATTORNEYS’
                       FEES, COSTS AND EXPENSES

            Complex Litigation Group LLC1 (“CLG”) (n/k/a Quantum Legal LLC) (hereinafter

    “Complex Lit”) respectfully moves the Court for an award of attorneys’ fees pursuant to Rules

    54(d)(2) and 23(h), for an Order of reimbursement of reasonable and necessary expenses made

    by Complex Lit on behalf of the Class, for an order and judgment of attorneys’ fees to

    Complex Litigation Group LLC, and for an order allocating the attorneys’ fees amongst

    counsel seeking attorneys’ fees in the litigation.

          1.       Complex Lit is counsel for Settlement Class Members Plaintiffs Tim Bastiaanse,

Elizabeth D’Angelo, Joseph Palmiotto, and Tim Stefanik, and was previously appointed Lead

Class Counsel by this Court on June 4, 2009.

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    Formerly known as Freed & Weiss LLC.




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  Case: 1:06-cv-04481 Document #: 684 Filed: 05/21/18 Page 2 of 4 PageID #:25979



         2.    Complex Lit advanced $174,420.56 in expenses, and $3,420,589.50 in attorneys’

fees from the inception of the litigation until January 18, 2011, the date the United States

Supreme Court denied Defendants Petition for Certiorari seeking review of Judge James Zagel

Class Certification Order D.E. #163.

         3.    Complex Lit was replaced as Class Counsel on September 12, 2014. D.E. #469.

         4.    On February 16, 2018, this Court entered its order of preliminary approval (D.E.

#675) permitted any Settlement class members counsel to submit an Application for attorneys’

fees with 90 days of the Order.

         5.    On May 16, 2018, this Court entered its order of clarification stating that for the

purpose of determining deadlines the preliminary approval order is deemed to have been

entered on February 20, 2018. As such this motion is timely filed.

         6.    Complex Lit was counsel for the certified class and as such may apply to the

court for an award of fees and non-taxable costs under Fed. R. Civ. P. 23(h) and 54(d)(4).

         7.    Complex Lit seeks fees in the amount of $ $3,420,589.50 and non-taxable costs

in the amount of $$174,420.56. The fees and expenses requested are reasonable.

         8.    Complex Lit was class counsel when the order of class certification and

defended that order before the Seventh Circuit Court and the United States Supreme Court.

Complex Lit efforts in creating the Class certification order produced a beneficial result for the

Class.

         9.    The undersigned intend to rely upon the Memorandum In Support of Attorneys’

Fees and Costs, and the Declaration of Richard Burke.

         WHEREFORE, Complex Litigation Group LLC requests the court to enter a judgement

as and for attorneys’ fees and non-taxable costs in the amount of $3,420,589.50, and




                                                2
  Case: 1:06-cv-04481 Document #: 684 Filed: 05/21/18 Page 3 of 4 PageID #:25980



$174,420.56 respectively, or in such sum as the court deem reasonable, or in the alternative to

allocate fees amongst counsel in a fashion the court deems just and equitable.




 Dated: May 21, 2018                          Respectfully submitted,



                                                 /s/ Richard J. Burke

                                              Richard J. Burke
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                                          Former Counsel For the Certified Plaintiff Classes and
                                          for Certain Named Plaintiffs




                                                3
 Case: 1:06-cv-04481 Document #: 684 Filed: 05/21/18 Page 4 of 4 PageID #:25981



                                  CERTIFICATE OF SERVICE

       The undersigned, an attorney, affirms that on May 21, 2018, he filed an electronic copy

of the foregoing document with the Clerk of Court using the ECF system, which will send

notification of such filing to counsel of record.



                                                        /s/ Richard J. Burke

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